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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI

  STATE OF MISSOURI,                              )
  STATE OF ALABAMA                                )
  STATE OF ARKANSAS,                              )
  STATE OF FLORIDA,                               )
  STATE OF NORTH DAKOTA,                          )
                                                  )   Civil Action No. 24-cv-1316
  STATE OF OHIO, and
                                                  )   EMERGENCY TRO requested by end of
                                                  )   day, October 4.
          Plaintiffs,
                                                  )
  v.                                              )   If necessary, TRO hearing requested as
                                                  )   soon as possible.
  JOSEPH R. BIDEN, Jr., in his official           )
  capacity as President of the United States,     )
                                                  )
  MIGUEL A. CARDONA, in his official              )
  capacity as Secretary, United States            )
  Department of Education, and                    )
                                                  )
  UNITED STATES DEPARTMENT OF                     )
  EDUCATION,                                      )
                                                  )
          Defendants.                             )
                                                  )

         EMERGENCY MOTION FOR A STAY OR IN THE ALTERNATIVE A
       TEMPORARY RESTRAINING ORDER OR PRELIMINARY INJUNCTION

       Plaintiffs move for a temporary restraining order (Fed. R. Civ. P. 65), an administrative

stay, a preliminary injunction, or a statutory stay of agency action (5 U.S.C. § 705) against

Defendants’ third attempt to mass cancel loans. This case has been transferred from a district court

that already granted two TROs against Defendants but then transferred after concluding that it

lacked venue. During a previous hearing, Defendants conceded on the record that they will fully

implement the Third Mass Cancellation Rule after 72 hours of publication, Tr. 40, even though

federal law expressly requires they wait until at least 60 days after publication, 5 U.S.C.

§ 801(a)(3). In other words, absent immediate relief, Defendants will unlawfully liquidate at least




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$73 billion in student loan debt by as soon as Monday, causing immediate, irreparable harm to

Plaintiff States before this case can be adjudicated on the merits. ECF 5 at 3.

       If the Court grants a TRO, the States ask that it remain in place as long as needed for the

Court to rule on the request for a § 705 stay or a preliminary injunction. In support of this motion,

Plaintiff States rely on the arguments in the accompanying memorandum supporting both this

motion, the underlying briefing on the States’ Motion for a Stay/Preliminary Injunction/Temporary

Restraining Order (ECF 5), and the transcript of the oral argument held in the other district court

before this case was transferred.




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Date: October 3, 2024                           Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 3, 2024, a true and accurate copy of the foregoing was

electronically filed through the Court’s CM/ECF System and that a copy of the foregoing will be

sent via email to all parties by operation of the Court’s electronic filing system, consistent with

Federal Rule of Civil Procedure 5(b).

       I further certify that the foregoing document contains 253 words, exclusive of matters

designated for omission, as counted by Microsoft Word.

                                                     /s/ Joshua M. Divine

                                                     Counsel for Plaintiff State of Missouri
                                                     Lead Counsel for Plaintiff States
